Case 4:10-cv-00460-JHP-FHM Document 78 Filed in USDC ND/OK on 06/21/12 Page 1 of 6




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF OKLAHOMA

   JOHN JOHNSON,
                                 Plaintiff,
   vs.                                            Case No.10-CV-460-JHP-FHM
   OLD REPUBLIC INSURANCE
   COMPANY,
                                 Defendants.

                                   OPINION AND ORDER

         This Opinion and Order resolves the discovery disputes presented in docket

  numbers 18, 19, 27, and 55. The matters have been fully briefed and a hearing was held

  before the undersigned United States Magistrate Judge on June 20, 2012. At the hearing

  counsel for the parties agreed that the court’s decision on appropriate redactions from

  documents submitted for in camera review will resolve the pending discovery matters.

         The court has reviewed the documents submitted in camera and has made

  decisions about what information must be produced and what may remain redacted. In

  making these decisions, the court was guided by the following principles.

                               Attorney Client/Work Product

         In a bad faith case Plaintiff is entitled to discover the insurance company’s handling

  and analysis of his claim. This discovery includes:

         – all facts the insurance company considered in its analysis, even if those
         facts were provided to the insurance company by the insurance company’s
         attorney;

         –the insurance company’s analysis of the facts;

         – the insurance company’s understanding of its legal obligations to the insured;
Case 4:10-cv-00460-JHP-FHM Document 78 Filed in USDC ND/OK on 06/21/12 Page 2 of 6




         –the conclusions reached by the insurance company based on its analysis of the
         facts and its legal obligations.

  See generally, Darzenkiewicz v. Jackson, 904 P.2d 66 (Okla. 1994)(writ of mandamus

  issued to permit discovery of claims file and claims manual in UM bad faith case); Buzzard

  v. McDaniel, 736 P.2d 157, 159 (Okla. 1987)(insurer’s actions in bad faith case are

  assessed in light of all facts known and knowable concerning the claim at the time insurer

  was requested to perform contractual duties).

         It is appropriate, on the basis of the attorney-client privilege or work product

  protection, to shield from discovery the insurance company’s communications seeking or

  obtaining legal advice from its attorney including the attorney’s analysis of the claim.

  However, the insurance company must disclose its own analysis of the claim. In other

  words, the insurance company is entitled to seek and obtain legal advice from its attorney,

  but that does not relieve the insurance company of either its obligation to make its own

  analysis of the claim or its obligation to disclose that analysis.

         The foregoing applies to all discovery of Defendant insurance company in this case.

                   Personal or Confidential Information of Non-Parties

         The in camera documents include information that appears to have been generated

  by a name search for Plaintiff’s name, “John Johnson,” which returned information that

  matched claims for either John or Johnson. [ESIS 0263-0266, 0269-0272, 0278-0281].

  The last names, addresses, date of birth, and telephone numbers were redacted for people

  other than Plaintiff. The in camera documents also include a summary of claims that

  involve claimants other than Plaintiff. [ESIS 0454-0459]. The redactions from this




                                                2
Case 4:10-cv-00460-JHP-FHM Document 78 Filed in USDC ND/OK on 06/21/12 Page 3 of 6




  document are information that involves unrelated cases.          These redactions were

  appropriate.

                                  Proprietary Information

        Dollar amounts were redacted from policy premiums, reserve amounts, estimated

  losses and expenses. This information is not subject to a privilege. These redactions were

  not appropriate.

                                    Specific Redactions

        The following chart sets forth the court’s order as to what must be produced and

  what may remain redacted.

      Page Number                  Material Defendant is Required to Produce
   Old Republic 0004       Produce entire page.
   Old Republic 0124       Produce entire page.
   Old Republic 0155       No further production required.
   Old Republic 0154       No further production required.
   ESIS 0031               Produce entire page.
   ESIS 0032               Produce entire page. (the document produced in camera
                           contains redactions of premium amounts)
   ESIS 0055               Produce entire page.
   ESIS 0263-0266          No further production required.
   ESIS 0269-0272          No further production required.
   ESIS 0278-0281          No further production required.
   ESIS 0291-0292          Produce entire page.
   ESIS 0315               Produce entire page.
   ESIS 0355-0356          Produce entire page.
   ESIS 0378               Produce entire page.


                                              3
Case 4:10-cv-00460-JHP-FHM Document 78 Filed in USDC ND/OK on 06/21/12 Page 4 of 6




   ESIS 0443            Produce entire page.
   ESIS 0454-0459       On page 0455, produce redacted portion of entry related to
                        John Johnson, no other production is required for these
                        pages.
   ESIS 0464            The redaction covers two sentences. The first sentence may
                        remain redacted. The second sentence must be produced.
   ESIS 0463            The figures related to Defendant’s legal costs and
                        Defendant’s estimated legal costs may remain redacted. The
                        rest of the document must be produced.
   ESIS 0521            One sentence of this page may remain redacted. The first
                        sentence after the heading, “Strategy/Litigation Mgmt/Case
                        Disposition may remain redacted. The rest of the document
                        must be produced.
   ESIS 0522            One sentence of this page may remain redacted. The first
                        sentence after the heading, “Strategy/Litigation Mgmt/Case
                        Disposition may remain redacted. The rest of the document
                        must be produced.
   ESIS 0523            One sentence of this page may remain redacted. The first
                        sentence after the heading, “Strategy/Litigation Mgmt/Case
                        Disposition may remain redacted. The rest of the document
                        must be produced.
   ESIS 0524            Produce entire page.
   ESIS 0525            The first redacted paragraph/block on this page must be
                        produced. The rest of the page may remain redacted.
   ESIS 0526            The first redacted paragraph/block on this page must be
                        produced. The rest of the page may remain redacted.
   ESIS 0527            In the first redacted paragraph/block, the first two sentences
                        must be produced, the rest of the paragraph/block may
                        remain redacted.

                        The second redacted paragraph/block may remain redacted.

                        The third redacted paragraph/block must be produced.
   ESIS 0528            No further production required.
   ESIS 0529            Produce entire page.
   ESIS 0530            No further production required.

                                           4
Case 4:10-cv-00460-JHP-FHM Document 78 Filed in USDC ND/OK on 06/21/12 Page 5 of 6




   ESIS 0531            Produce entire page.
   ESIS 0534-0536       No further production required.
   ESIS 0537            The first redacted paragraph/block may remain redacted.

                        In the second redacted paragraph/block, the first two
                        sentences may remain redacted. The remaining two
                        sentences must be produced.

                        In the third redacted paragraph/block, the first sentence and
                        part of the second sentence must be produced–the redaction
                        may begin after the word “done.” The last two sentences of
                        that paragraph/block must be produced, beginning with the
                        word “we,” and continuing to the end of the paragraph/block.


   ESIS 0538            In the section marked “reserve rationale,” the portion between
                        the word “information and the word “at” may be redacted.
                        The remainder of the page must be produced.
   ESIS 0539            No further production required.
   ESIS 0540            This page contains four paragraph/blocks.

                        All of the information in the first paragraph/block on the page
                        must be produced.

                        No further production is required for the second and third
                        paragraph/blocks.

                        All of the information in the fourth paragraph/block must be
                        produced.
   ESIS 0541            In the first redacted paragraph/block, the first 12 lines of the
                        paragraph/block may remain redacted. The remainder of the
                        paragraph/block must be produced, beginning with the
                        phrase, “at this time.”

                        The remainder of the page must be produced.
   ESIS 0542            The first redacted paragraph/block must be produced.

                        No further production is required for the rest of the page.
   ESIS 0543            No further production required.


                                           5
Case 4:10-cv-00460-JHP-FHM Document 78 Filed in USDC ND/OK on 06/21/12 Page 6 of 6




   ESIS 0544              Produce entire page.

                                       Conclusion

        Docket numbers 18, 19, 27, and 55 are GRANTED in PART and DENIED in PART

  as provided herein. The parties are to bear their own costs for these motions.

        SO ORDERED this 21st day of June, 2012.




                                             6
